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                 4                                UNITED STATES DISTRICT COURT
                 5                                       DISTRICT OF NEVADA
                 6                                                  ***
                 7    THOMAS DAWSON REUTER, et al.,                        Case No. 2:20-CV-2180 JCM (BNW)
                 8                                         Plaintiff(s),                  ORDER
                 9           v.
               10     MICHAEL R. POMPEO, et al.,
               11                                        Defendant(s).
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                             Presently before the court is Felipe D.J. Millan’s (“petitioner”) verified petition for
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                      permission to practice pro hac vice. (ECF No. 3). Local Rule IA 11-2 provides that
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                      “[a]pplications must be by verified petition on the form furnished by the clerk.” LR IA
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                      11-2(a) (emphasis added). Petitioners cannot use their own verified motion. (See Clerk’s
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                      Notice, ECF No. 4).
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                             Accordingly,
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                             IT IS HEREBY ORDERED, ADJUDGED, and DECREED that petitioner’s verified
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                      petition for permission to practice pro hac vice (ECF No. 3) be, and the same hereby is,
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                      DENIED.
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                             IT IS FURTHER ORDERED that petitioner shall refile a petition on the form
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                      furnished by the clerk in compliance with LR IA 11-2(a) within 14 days from the entry of
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                      this order. If petitioner does not comply with this 14-day deadline, he shall again pay the
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                      admission fee for any refiled verified petition.
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                             DATED January 11, 2021.
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               28                                                  __________________________________________
                                                                   UNITED STATES DISTRICT JUDGE
James C. Mahan
U.S. District Judge
